                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

 COURTNEY WAYNE WALDEN,                                 )
                                                        )
                Petitioner,                             )
                                                        )
 v.                                                     )      Nos: 3:10-CR-110
                                                        )           3:13-CV-647
 UNITED STATES OF AMERICA,                              )           (VARLAN/GUYTON)
                                                        )
                Respondent.                             )


                                        MEMORANDUM

        Petitioner Courtney Wayne Walden ("petitioner") filed a pro se "MOTION FOR

 MODIFICATION OF SENTENCE." [Doc. 381].1 Petitioner subsequently, through counsel,

 filed a "RENEWED MOTION FOR MODIFICATION OF SENTENCE UNDER 18 U.S.C.

 §3582(C)(2) OR TO VACATE UNDER 28 U.S.C. §2255." [Doc. 416]. For the reasons

 stated below, the United States Attorney shall not be required to file an answer or other

 pleading to the motions, and the motions will be DENIED.

        The petitioner pleaded guilty to aiding and abetting the distribution of a mixture and

 substance containing a detectable amount of cocaine (cocaine hydrochloride) and was

 sentenced to a term of imprisonment of 41 months. In return for petitioner's guilty plea, all

 remaining charges against him, including the charges involving cocaine base (crack cocaine),

 were dismissed. [Doc. 311, Judgment; Doc. 153, Plea Agreement].




        1
         All citations to the record refer to the docket sheet in petitioner's criminal case.


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         The basis for petitioner's pending motions is Amendment 750 to the sentencing

 guidelines, which lowered the base offense levels for defendants convicted of crack cocaine

 offenses. Amendment 750 did not change the penalties related to powder cocaine (cocaine

 hydrochloride), which is the controlled substance for which petitioner was convicted. See,

 e.g., United States v. Stafford, 258 F.3d 465, 470-71 (6th Cir. 2001) (cocaine hydrochloride

 and crack cocaine are two different controlled substances subject to distinct guidelines

 calculations). Accordingly, Amendment 750 does not afford petitioner any relief and his

 pending motions will be DENIED.

         It is worth noting that a criminal defendant generally gets only one "bite" at a § 2255

 "apple." See 28 U.S.C. § 2255(h) (a petitioner cannot file a "second or successive" motion

 absent permission from the court of appeals). A motion to modify a sentence based upon a

 change in an applicable guideline range is more properly brought as a motion for a reduction

 of sentence pursuant to 18 U.S.C. § 3582(c) rather than a motion to vacate, set aside or

 correct sentence pursuant to 28 U.S.C. § 2255. For that reason, the § 2255 motion will be

 DENIED WITHOUT PREJUDICE. The Clerk will be DIRECTED to CLOSE the civil

 file.

         AN APPROPRIATE ORDER WILL ENTER.



                                     s/ Thomas A. Varlan
                                     CHIEF UNITED STATES DISTRICT JUDGE




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